              Case 2:18-cv-00541-JNP Document 9 Filed 08/01/18 Page 1 of 3




Kenneth B. Black (05588)
ken.black@stoel.com
Michael R. Menssen (15424)
michael.menssen@stoel.com
STOEL RIVES LLP
201 S. Main Street, Suite 1100
Salt Lake City, UT 84111
Telephone: (801) 328-3131

Attorneys for Defendants
PolarityTE, Inc.; Denver Lough; and Jeff Dyer


                             IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


YEDID LAWI, Individually, and on Behalf of           NOTICE OF APPEARANCE OF
All Others Similarly Situated,                       KENNETH B. BLACK
                       Plaintiff,                    Case No. 2:18-cv-00541-DB
         v.
                                                     The Honorable Dee Benson
POLARITYTE, INC.; DENVER LOUGH;
and JEFF DYER,

                       Defendants.


         PLEASE TAKE NOTICE that Kenneth B. Black of Stoel Rives LLP hereby appears as

counsel on behalf of Defendants PolarityTE, Inc.; Denver Lough; and Jeff Dyer in the above-

captioned action and requests that all further notices, inquiries, and copies of pleadings, papers or

other material relevant to this action be directed and served upon the following:

         Kenneth B. Black
         ken.black@stoel.com
         STOEL RIVES LLP
         201 S. Main Street, Suite 1100
         Salt Lake City, UT 84111
         Telephone: 801-328-3131
         Facsimile: 801-578-6999


97833350.1 0200589-00001
             Case 2:18-cv-00541-JNP Document 9 Filed 08/01/18 Page 2 of 3




         DATED: August 1, 2018
                                              STOEL RIVES LLP



                                              /s/ Kenneth B. Black
                                              Kenneth B. Black
                                              Michael R. Menssen

                                              Attorneys for Defendants
                                              POLARITYTE, INC.; DENVER LOUGH; and
                                              JEFF DYER




97833350.1 0200589-00001                  2
             Case 2:18-cv-00541-JNP Document 9 Filed 08/01/18 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of August, 2018, a true and correct copy of the

foregoing NOTICE OF APPEARANCE OF KENNETH B. BLACK was served to counsel

who have appeared electronically in this action.




                                                       /s/ Rose Gledhill




97833350.1 0200589-00001                           3
